           Case 3:25-cv-02225-MMC        Document 9-1       Filed 03/05/25   Page 1 of 9




 1   ANTHONY D. PRINCE, SBN 202892
     GENERAL COUNSEL, CALIFORNIA HOMELESS UNION
 2   LAW OFFICES OF ANTHONY D. PRINCE
 3   2425 Prince Street, Ste. 100
     Berkeley, CA 94705
 4   Telephone: (510) 301-1472
     Email: princelawoffices@yahoo.com
 5
 6   ANDREA M. HENSON, SBN 331898
     WHERE DO WE GO
 7   2726 Martin Luther King Jr. Way
     Berkeley, CA 94703
8
     Telephone: (510) 640-7390
 9   Email: ahenson@wdwg.org

10
     Attorneys for Plaintiffs
11
12
                                   UNITED STATES DISTRICT COURT
13                                NORTHERN DISTRICT OF CALIFORNIA
14
     CALIFORNIA HOMELESS UNION, et al.,          ) Case No.:
15                                               )
                                                 ) DECLARATION OF JAMIE CHANG, PhD
16                  Plaintiffs,
                                                 ) IN SUPPORT OF PLAINTIFFS’
17          vs.                                  ) APPLICATION FOR TEMPORARY
                                                 ) RESTRAINING ORDER AND
18                                               ) PRELIMINARY INJUNCTION
     CITY OF FREMONT,                            )
19                                               )
20                  Defendant.                   )
                                                 )
21                                               )
                                                 )
22                                               )
23                                               )
                                                 )
24                                               )
                                                 )
25
26
27
28



     California Homeless Union, et al. v. City of Fremont
     Declaration of José Arroyo
           Case 3:25-cv-02225-MMC           Document 9-1        Filed 03/05/25     Page 2 of 9




 1
        1. I, Dr. Jamie Chan, declare as follows.
 2
 3      2. I have personal knowledge of all facts in this declaration and if called to testify could and would

 4         do so competently.
 5
        3. I am a professor of medical sociology at University of California, Berkeley. I have a Ph.D. in
 6
           Medical Sociology at the University of California, San Francisco, along with post-doctoral
 7
           research training in substance use treatment programs. I have conducted drug/alcohol treatment
8
 9         research with County Departments of Public Health, Veterans Affairs hospitals, hospitals/clinics,

10         community-based organizations, and grassroots organizations throughout the Bay Area.
11
        4. My research involves investigating the structural determinants that impact the health of unhoused
12
13         people, focusing on the role of social policies (e.g. anti-homeless ordinances, criminalization of

14         homelessness, encampment sweeps, etc.) on unhoused people’s health outcomes. Most recently, I
15
           have led mixed-methods studies which examine the soaring numbers of people dying while
16
           unhoused in Santa Clara County. My lab developed a website -- SCC Unhoused Death -- (link
17
18         is external) as a research tool to track unhoused people’s deaths in Santa Clara County.

19
        5. I have extensive research experience in the impact of social policies and encampment sweeps on
20
           the health of unhoused people and have published numerous peer review studies in various
21
22         academic journals. Attached hereto as Exhibit A is a partial list of some of the relevant research I

23         have led and published.
24
        6. Besides conducting medical-sociological research on the impacts of state sanctioned violence
25
26         against unhoused people, I have also as part of my researched the historical context of these types

27         of laws and have carefully researched the history of anti-homeless laws.
28


     California Homeless Union, et al. v. City of Fremont
     Declaration of Jamie Chang, PhD
                                                                                                                -2
           Case 3:25-cv-02225-MMC           Document 9-1         Filed 03/05/25      Page 3 of 9




 1      7. For the purposes of this declaration, I refer to “anti-camping” as “anti-homeless” “criminalization
 2         of survival” or other terms. The reason I do this is term “anti-camping” is an inaccurate way to
 3
           describe these ordinances. Unsheltered people do not “Camp”, rather they reflexively engage in
 4
           acts of survival and possess survival gear – such as use blankets to stay warm, erecting shelter to
 5
 6         protect themselves from wind and rain, and possessing other property necessary for survival.

 7
        8. Fremont’s ordinance does not criminalize camping per se (See, Sec 8.90.030 City of Fremont
8
           Municipal Code: “This section is not intended to prohibit camping on private residential property
 9
10         by friends or family of the property owner”). Rather, it exclusively criminalizes a variety of

11         reflexive acts of biological survival for unsheltered people who don’t have access to private real
12
           property – such as using a blanket to stay warm, possessing bottles of water or other property that
13
           is “stored” on public property, or a having a tent to keep oneself and one’s property safe from
14
           wind, rain, and theft.
15
16
        9. Calling reflexive survival strategies “camping” and survival gear “camping paraphernalia” does
17
           not accurately reflect the necessity, and reflexive nature, of these acts of survival.
18
19      10. Accordingly, Fremont’s ordinance is not an anti-camping ordinance – it is an anti-homeless
20
           ordinance insofar as it criminalizes reflexive survival strategies and the possession of survival
21
           gear while allowing property owners to continue to “camp” on their own property.
22
23      11. Based on my training and experience, I can authoritatively state the scientific consensus is that
24
           laws like the City of Fremont’s Chapter 8.90 increases rates of homelessness by prolonging and
25
           magnifying the suffering unhoused people experience and are a primary contributor to premature
26
27         mortality among the unsheltered.

28


     California Homeless Union, et al. v. City of Fremont
     Declaration of Jamie Chang, PhD
                                                                                                                -3
           Case 3:25-cv-02225-MMC           Document 9-1       Filed 03/05/25      Page 4 of 9




 1      12. People experiencing homelessness who are un-sheltered have higher rates of chronic illness,
 2         comorbid chronic conditions, and mortality due to chronic illness and injuries than their housed or
 3
           sheltered counterparts. Jessica Richards & Randall Kuhn, Unsheltered Homelessness and Health:
 4
           A Literature Review, 2 Am. J. Preventive Med. Focus, art. no. 100043, Mar. 2023, at 1, 8. When
 5
 6         governments enforce anti-homeless laws without making adequate shelter available, enforcement

 7         “result[s] in adverse health outcomes, exacerbate[s] racial disparities, and create[s] traumatic
8
           stress, loss of identification and belongings, and disconnection from much-needed services.” U.S.
 9
           Interagency Counc. on Homelessness, 7 Principles for Addressing Encampments (June 2022) at 1.
10
           Studies demonstrate that this occurs through several mechanisms.
11
12
        13. Numerous survey studies have shown that un-housed people’s property is commonly confiscated
13
           or destroyed as a matter of procedure while enforcing anti-homeless laws. This occurs when a
14
           person is arrested and separated from their property or when police cordon off an area for
15
16         sanitation workers to conduct camp clearances. This confiscation is a common practice in cities
17         throughout the U.S. See Jennifer Darrah-Okike et al., “It Was Like I Lost Everything”: The
18
           Harmful Impacts of Homeless-Targeted Policies, 28 Hous. Pol’y Debate 635, 635 (2018); Tony
19
           Robinson, No Right to Rest: Police Enforcement Patterns and Quality of Life Consequences of the
20
21         Criminalization of Homelessness, 55 Urb. Affs. Rev. 41, 49 (2019); Chris Herring et al.,

22         Pervasive Penalty: How the Criminalization of Poverty Perpetuates Homelessness, 67 Soc.
23         Problems 131, 131 (2020); J. L. Goldshear et al., “Notice of Major Cleaning”: A Qualitative
24
           Study of the Negative Impact of Encampment Sweeps on the Ontological Security of Unhoused
25
           People Who Use Drugs, 339 Soc. Sci. & Med., art. no. 116408, Dec. 2023, at 1, 4.
26
27      14. For instance, a 2021 California study of 3,200 adults experiencing homelessness in eight counties
28
           across eight distinct regions found that 36 percent had their belongings taken or destroyed by

     California Homeless Union, et al. v. City of Fremont
     Declaration of Jamie Chang, PhD
                                                                                                              -4
           Case 3:25-cv-02225-MMC           Document 9-1        Filed 03/05/25      Page 5 of 9




 1         officials conducting abatements in the previous six months. Margot Kushel et al., U.C.S.F.
 2         Benioff Homelessness & Housing. Initiative, Toward a New Understanding: The California
 3
           Statewide Study of People Experiencing Homelessness 65 (2023). By making mere possession of
 4
           vital survival items of personal property a criminal offense, the City of Fremont’s seizure,
 5
 6         confiscation, deprivation and destruction of these belongings – now treated as contraband - will

 7         not be incidental to the enforcement of a law but is the purpose of the law, itself.
8
        15. Studies have shown that people who are unsheltered are often trapped living in dangerous areas
 9
10         because those places are less likely to draw law enforcement attention. Spaces under freeways,

11         alongside train tracks or waterways, or in industrial lots or abandoned properties are safer from
12
           police enforcement, but they also tend to be acutely hazardous areas with higher risk of vehicle-
13
           pedestrian strike, flooding, exposure to the elements, and pollution. Jamie Suki Chang et al.,
14
           Harms of Encampment Abatements on the Health of Unhoused People, 2 Soc. Sci. & Med.—
15
16         Qual. Res. Health, art. no. 100064, Dec. 2022, at 1, 4; C. J. Gabbe et al., Reducing Heat Risk for
17         People Experiencing Unsheltered Homelessness, 96 Int’l J. Disaster Risk Ed., art no. 103904,
18
           Oct. 2023, at 1, 5–7; Erin Goodling, Intersecting Hazards, Intersectional Identities: A Base-line
19
           Critical Environmental Justice Analysis of U.S. Homelessness, 3 Env’t & Plan. E: Nature &
20
21         Space 833, 833 (2020); Shawn Flanigan & Megan Welsh, Unmet Needs of Individuals

22         Experiencing Homelessness Near San Diego Waterways: The Roles of Displacement and
23         Overburdened Service Systems, 43 J. Health & Hum. Servs. Admin. 105, 109 (2020); Chris
24
           Herring, The New Logics of Homeless Seclusion: Homeless Encampments in America’s West
25
           Coast Cities, 13 City & Cmty. 285, 291 (2014).
26
27      16. Accordingly, based on my training, experience and familiarity with the situation in the City of

28         Fremont, i.e., the unhoused Plaintiffs in this case who live on the “Slab” situated by train tracks


     California Homeless Union, et al. v. City of Fremont
     Declaration of Jamie Chang, PhD
                                                                                                                 -5
           Case 3:25-cv-02225-MMC           Document 9-1        Filed 03/05/25      Page 6 of 9




 1         and under a freeway overpass, are there as a result the City of Fremont’s existing anti-homeless
 2         ordinances pushing people from safer locations into these more dangerous areas. If allowed to
 3
           take effect, the Ordinance will dramatically escalate this process.
 4
        17. Anti-homeless laws and their enforcement also tend to push people further from various health
 5
 6         and medical-related resources they rely on, including healthcare providers, food and water, and

 7         hygiene resources such as toilets and laundromats. Elizabeth A. Frye et al., Open Defecation in
8
           the United States: Perspectives from the Streets, 12 Env’t Just. 226, 226 (2019); Qi et al., supra, at
 9
           3707.
10
        18. Following the passage of a new anti-homeless ordinance in Denver, homeless people reported
11
12         living in more isolated conditions to avoid police. Enforcement dislocated unhoused people from

13         social support systems critical to survival and health, resulting in higher rates of assault and worse
14
           mental health outcomes, among other consequences. Marisa Westbrook & Tony Robinson,
15
           Unhealthy by Design: Health & Safety Consequences of the Criminalization of Homelessness, 30
16
17         J. Soc. Distress & Homelessness 107, 107 (2021).

18      19. B. Enforcing anti-homeless laws can inflict prolonged sleep deprivation, which can worsen
19         mental health.
20
        20. Adequate sleep is essential to health and well-being. Studies have documented that people
21
           experiencing homelessness get less sleep and experience increased daytime fatigue and
22
23         unintentional sleep during the daytime. Ariana Gonzalez & Quinn Tyminski, Sleep Deprivation in

24         an American Homeless Population, 6 Sleep Health 489, 489 (2020). On its face, the City of
25
           Fremont Criminalization plays a large role in this; laws like Grants Pass’s scheme necessitate
26
           constant movement.
27
28


     California Homeless Union, et al. v. City of Fremont
     Declaration of Jamie Chang, PhD
                                                                                                              -6
           Case 3:25-cv-02225-MMC           Document 9-1       Filed 03/05/25      Page 7 of 9




 1      21. At night, unsheltered homeless people must contend with the cold, exposure to the elements, and
 2         maintaining their personal safety in the dark and marginal locations where, as discussed above,
 3
           they are forced to sleep. Meanwhile, people staying in congregate shelters also often struggle to
 4
           obtain adequate sleep due to noise levels, overcrowding, lack of privacy, anxiety, theft, and fears
 5
 6         about personal safety. Many, if not most, shelters in the U.S. are closed during daytime hours,

 7         forcing shelter residents to spend much of their daytime hours in public spaces.
8
        22. Thus, homeless people struggle to attain adequate sleep even in jurisdictions that only enforce
 9
           anti-homeless laws during daylight hours, and even homeless people who have a shelter bed may
10
           find themselves caught up in the enforcement net.
11
12
13
14
15      23. People experiencing homelessness most often experience incarceration in two scenarios: (1) an

16         arrest for violating an anti-homeless law, or (2) an arrest on a bench warrant due to unpaid civil
17         citations for violating an anti-homeless law. Incarceration for more than a couple of days may
18
           result in the termination of federal health benefits such as Social Security, Medicare, or Medicaid,
19
           or loss of a shelter bed. Chris Koyanagi et al., Bazelon Ctr. for Mental Health L., Arrested? What
20
21         Happens to Your Benefits If You Go to Jail or Prison? (2006); Herring, Cruel Survival, supra, at

22         manuscript 115. For people with mental health disorders, the alternately rigid and chaotic jail
23
           environment can be especially challenging, and research has found high levels of destabilization
24
           and decompensation while incarcerated. Dora M. Dumont et al., Public Health and the Epidemic
25
26         of Incarceration, 33 Ann. Rev. Pub. Health 325, 329 (2012). The result is often an increase in

27         symptoms of trauma, anxiety, depression, and psychosis, both while in jail and after release.
28


     California Homeless Union, et al. v. City of Fremont
     Declaration of Jamie Chang, PhD
                                                                                                                -7
           Case 3:25-cv-02225-MMC           Document 9-1       Filed 03/05/25      Page 8 of 9




 1         Kristin Turney et al., As Fathers and Felons: Explaining the Effects of Current and Recent
 2         Incarceration on Major Depression, 53 J. Health Soc. Behav. 465, 465–66 (2012).
 3
        24. Fremont’s newest anti-camping ordinance includes an aiding abetting provision is under Section
 4
           8.90.060 unprecedented. Although I have studied many anti-homeless laws, I have not found a
 5
 6         law like this that criminalizes acts of charity or mutual aid among people experiencing

 7         homelessness. However, it poses a major threat to their survival because it criminalizes the
8
           essential aid they receive from the larger community and each other.
 9
10      25. As people are cycled from neighborhood to neighborhood by law enforcement, it becomes

11         increasingly challenging for them to maintain these ties that are necessary to sustain themselves
12
           and escape homelessness. Punishment schemes like the one in City of Fremont that force people
13
           to not only switch neighborhoods but to leave an entire city or region have even more severe
14
           impacts.
15
16
        26. There are numerous examples of communities that have used an encampment resolution approach
17
           without enforcement, as recommended by the guidelines, to achieve progress on the dual goals of
18
19         securing housing for unsheltered residents and removing encampments from public space.

20         Moving Inside: State Encampment Resolution Initiative at Work in King County, King County
21         Regional Homelessness Authority (Feb. 8, 2024), https://kcrha.org/news-moving-insidestate-
22
           encampment-resolution-initiative-at-work-in-kingcounty/; Stephen Metreux et al., Univ. Pa., An
23
           Evaluation of the City of Philadelphia’s Kensington Encampment Resolution Pilot 5 (Mar. 5,
24
25         2019); Samantha Batko et al., Urb. Inst., Alternatives to Arrests and Police Responses to

26         Homelessness: Evidence-Based Models and Promising Practices 1 (Oct. 2020).
27
        27. In conclusion, based on my experience, training, research and familiarity with the specifics of the
28
           state of homelessness in the City of Fremont, it is my professional medical opinion that the

     California Homeless Union, et al. v. City of Fremont
     Declaration of Jamie Chang, PhD
                                                                                                             -8
           Case 3:25-cv-02225-MMC           Document 9-1        Filed 03/05/25      Page 9 of 9




 1          newly-enacted “anti-camping” (in truth, anti-homeless) ordinance serves no legitimate
 2          penological purpose and will result in irreparable injury and avoidable premature deaths of
 3
            unhoused persons and should not be allowed to take effect.
 4
 5      I swear under penalty of perjury under the laws of the United States that the foregoing is a true
 6   statement based on personal knowledge.
 7
8           Dated: March 2, 2025                                         /s/ Jamie Suki Chang, PhD
 9
            Executed at Berkely, CA
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     California Homeless Union, et al. v. City of Fremont
     Declaration of Jamie Chang, PhD
                                                                                                            -9
